      Case 4:17-cr-00122-Y Document 30 Filed 01/05/18                             Page 1 of 3 PageID 77



                        UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF TEXAS
                                           Fort Worth Division

 UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE

 v.                                                       Case Number: 4:17-CR-00122-Y(1)
                                                          Frank L. Gatto, assistant U.S. attorney
 ANTHONY ALEXANDER FERRARI                                Cody Cofer, attorney for the defendant


         On August 16, 2017, the defendant, Anthony Alexander Ferrari, entered a plea of guilty to count one of the
one-count indictment. Accordingly, the defendant is adjudged guilty of such count, which involves the following
offense:

 TITLE & SECTION                       NATURE OF OFFENSE                     OFFENSE CONCLUDED               COUNT

 21 U.S.C. §§ 841(a)(1) & (b)(1)(C)    Possession of Controlled Substance    May 8, 2017                     1
                                       with Intent to Distribute

        The defendant is sentenced as provided in pages two through three of this judgment. The sentence is imposed
under Title 18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing
Commission under Title 28, United States Code § 994(a)(1), as advisory only.

        The defendant shall pay immediately a special assessment of $100.00 for count one of the one-count
indictment.

          The defendant shall notify the United States attorney for this district within thirty days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid.

                                                                 Sentence imposed January 4, 2018.


                                                                 _______________________________
                                                                 TERRY R. MEANS
                                                                 UNITED STATES DISTRICT JUDGE

                                                                 Signed January 5, 2018.
     Case 4:17-cr-00122-Y Document 30 Filed 01/05/18                              Page 2 of 3 PageID 78
Judgment in a Criminal Case
Defendant: Anthony Alexander Ferrari
Case Number: 4:17-CR-00122-Y(1)                                                              Judgment -- Page 2 of 3

                                               IMPRISONMENT

         The defendant, Anthony Alexander Ferrari, is hereby committed to the custody of the Federal Bureau of
Prisons to be imprisoned for a term of 151 months on count one of the one-count indictment. The sentence shall run
consecutively to any sentence that may be imposed in case no. F17-395-431 in the 431st Judicial District Court, Denton
County, Texas.

         The Court recommends that the defendant be incarcerated at a facility in the District of Montana, if possible.

         The defendant is remanded to the custody of the United States marshal.


                                            SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three
years on count one of the one-count indictment.

         While on supervised release, in compliance with the standard conditions of supervision adopted by the United
States Sentencing Commission, the defendant shall:

         ( 1)     not leave the judicial district without the permission of the Court or probation officer;
         ( 2)     report to the probation officer in a manner and frequency directed by the Court or probation officer;
         ( 3)     answer truthfully all inquiries by the probation officer and follow the instructions of the probation
                  officer;
         ( 4)     support the defendant's dependents and meet other family responsibilities;
         ( 5)     work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
                  or other acceptable reasons;
         ( 6)     notify the probation officer within seventy-two (72) hours of any change in residence or
                  employment;
         ( 7)     refrain from excessive use of alcohol and not purchase, possess, use, distribute, or administer any
                  narcotic or other controlled substance, or any paraphernalia related to such substances, except as
                  prescribed by a physician;
         ( 8)     not frequent places where controlled substances are illegally sold, used, distributed, or administered;
         ( 9)     not associate with any persons engaged in criminal activity and not associate with any person
                  convicted of a felony unless granted permission to do so by the probation officer;
         (10)     permit a probation officer to visit the defendant at any time at home or elsewhere and permit
                  confiscation of any contraband observed in plain view by the probation officer;
         (11)     notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law
                  enforcement officer;
         (12)     not enter into any agreement to act as an informer or a special agent of a law enforcement agency
                  without the permission of the Court; and
         (13)     notify third parties of risks that may be occasioned by the defendant's criminal record or personal
                  history or characteristics, and permit the probation officer to make such notifications and to confirm
                  the defendant's compliance with such notification requirement, as directed by the probation officer.

         In addition the defendant shall:

                  not commit another federal, state, or local crime;

                  not possess illegal controlled substances;

                  not possess a firearm, destructive device, or other dangerous weapon;

                  cooperate in the collection of DNA as directed by the probation officer;
     Case 4:17-cr-00122-Y Document 30 Filed 01/05/18                              Page 3 of 3 PageID 79
Judgment in a Criminal Case
Defendant: Anthony Alexander Ferrari
Case Number: 4:17-CR-00122-Y(1)                                                               Judgment -- Page 3 of 3

                  report in person to the probation office in the district to which the defendant is released within 72
                  hours of release from the custody of the Federal Bureau of Prisons;

                  refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
                  within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
                  directed by the probation officer;

                  participate in a program approved by the probation officer for treatment of narcotic or drug or
                  alcohol dependency that will include testing for the detection of substance use, abstaining from the
                  use of alcohol and all other intoxicants during and after completion of treatment, contributing to the
                  costs of services rendered (copayment) at the rate of at least $50 per month; and

                  make all court-ordered child support payments on a timely basis, producing proof of payment to the
                  probation officer within the first 5 days of each month, whether as a part of a written report required
                  by the probation officer or otherwise.


                                             FINE/RESTITUTION

         The Court does not order a fine or costs of incarceration because the defendant does not have the financial
resources or future earning capacity to pay a fine or costs of incarceration.

         Restitution is not ordered because there is no victim other than society at large.


                                                     RETURN
         I have executed this judgment as follows:




         Defendant delivered on ___________________________ to ____________________________________

at ____________________________________________________________, with a certified copy of this judgment.


                                                                          United States marshal


                                                                          BY ________________________________
                                                                                        deputy marshal
